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AO 245B (Rev. 06/05)- Judgment in a Criminal Case



                                   United States District Court
                                                    W estern District of Michigan

UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE

-vs-                                                                  Case Number: 1:08-cr-47-02

FRANK BRIAN AMBROSE
                                                                      USM Number: 13644-040

                                                                      Michael Joseph Brady
                                                                      Defendant’s Attorney

THE DEFENDANT:
: pleaded guilty to Count One of the Indictm ent.
9 pleaded nolo contendere to Count(s) ___, which was accepted by the court.
9 was found guilty on Count(s) ___ after a plea of not guilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):


 Title & Section                                                Offense Ended                  Count No.
 18 U.S.C. § 844(f)(1)                                          January 2, 2000                One

Nature of Offense

Conspiracy to Commit Arson

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

: Counts 2, 3, and 4 are dismissed on the motion of the United States.
IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States
attorney of any material change in the defendant’s economic circumstances.

                                                               Date of Imposition of Judgment: October 20, 2008



DATED: November 12, 2008                                       /s/ Paul L. Maloney
                                                               Paul L. Maloney
                                                               Chief United States District Judge
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                                                       IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of one hundred eight (108) months.


:         The Court m akes the following recom m endations to the Bureau of Prisons:

          That the defendant be confined to a correctional facility as close as possible to fam ily living in central
          Pennsylvania.




:    The defendant is rem anded to the custody of the United States Marshal.
9    The Defendant shall surrender to the United States Marshal for this district on ________ at ________
9    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons
          9    before 2:00 P.M. on __________
          9    as notified by the United States Marshal
          9    no later than __________
          9    no sooner than ________

          9    as notified by the Probation or Pretrial Services Office
          9    no later than ________
          9    no sooner than _______




                                                           RETURN

I have executed this judgment as follows:




          Defendant delivered on                                             to

at                                                   , with a certified copy of this judgment.



                                                                       United States Marshal


                                                                       By:
                                                                                  Deputy U.S. Marshal
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                                                       SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of Life.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours
of release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

:         The above drug testing condition is suspended, based on the court’s determination that the defendant
          poses a low risk of future substance abuse.
:         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
          weapon.
:         The defendant shall cooperate in the collection of DNA as directed by the probation officer.
9         The defendant shall register with the state sex offender registration agency in the state where the
          defendant resides, works or is a student, as directed by the probation officer.
9         The defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant
pay in accordance with the Schedule of Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as any
additional conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION

1.        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2.        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month;
3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4.        the defendant shall support his or her dependents and meet other family responsibilities;
5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
6.        the defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
7.        the defendant shall refrain from use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8.        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
          of a felony, unless granted permission to do so by the probation officer;
10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
          of any contraband observed in plain view by the probation officer;
11.       the defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
          officer;
12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
          the permission of the court; and
13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
          criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
          confirm the defendant’s compliance with such notification requirement.
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                                           SPECIAL CONDITIONS OF SUPERVISION



1.        The defendant shall provide the probation officer with access to any requested financial inform ation.

2.        The defendant shall not apply for, nor enter into, any loan or other credit transaction without the approval of the
          probation officer.

3.        The defendant will subm it any personal com puter owned or controlled by the defendant to a search conducted by a
          probation officer or designee, at a reasonable tim e and in a reasonable m anner, without prior notice or search warrant,
          to determ ine if the defendant added, rem oved, updated, re-installed, repaired, or otherwise m odified the hardware or
          software on the com puter(s), or hid encrypted files or data inconsistent with the conditions of supervision. Further,
          the defendant will provide all com puter-related billing records, including telephone, cable, internet, satellite, and the
          like, as requested by the probation officer. Refusal to subm it to such search is a violation of conditions of supervision.
          The defendant will warn anyone with whom he shares residence that the prem ises m ay be subject to searches
          pursuant to this condition.
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                                                    CRIMINAL MONETARY PENALTIES1

       The defendant must pay the following total criminal monetary penalties in accordance with the Schedule
of Payments set forth below.
                Assessment                                            Fine                                        Restitution

                   $100.00                                             -0-                                      $4,139,536.00

9         The determination of restitution is deferred until __________. An Amended Judgment in a Criminal Case
          (AO 245C) will be entered after such a determination.

:         The defendant must make restitution (including community restitution) to the following payees in the
          amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment,
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to 18
U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

                                                                                                                       Priority Order
                                                Total Amount                       Amount of                           or Percentage
         Name of Payee                             of Loss                     Restitution Ordered                      of Payment

 Deer Park construction site                        $95,000.00                       $95,000.00
 Bloom ington, IN

 Vandalism of logging                               $55,000.00                       $55,000.00
 equipm ent
 Bloom ington, IN

 Sterling W oods                                    $200,000.00                     $200,000.00
 Developm ent
 Bloom ington, IN

 Crider and Crider                                  $500,000.00                     $500,000.00
 Equipm ent
 Bloom ington, IN

 Morgan-Monroe State Park                            $5,500.00                       $5,500.00
 Bloom ington, IN

 Yellowwod State Forest                              $1,600.00                       $1,600.00
 Bloom ington, IN

 Rose Acre Farm                                     $100,000.00                     $100,000.00
 North Vernon, IN

 Martin State Park, Shoals,                         $55,000.00                       $55,000.00
 IN

 Mystic Forest                                  $1,000,000.00                      $1,000,000.00
 Superior Township, MI




                    1
                      Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United
          States Code, for offenses committed on or after September 13, 1994, but before April 23, 1996.
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 W illow Ridge                                  $1,000,000.00               $1,000,000.00
 Macom b County, MI

 Michigan State University                      $1,100,000.00               $1,100,000.00
 Attn: Fred Poston
 420 Hannah Adm inistration
 Bldg
 East Lansing, MI. 48823

 Keith Musselm an                                   $18,000.00               $18,000.00
 9351 E. 12 th Road
 Manton, MI. 49663

 Dr. Jam es Boydston                                $9,436.00                 $9,436.00
 132 Sharps Circle
 Eustis, FL 32726


9         Restitution am ount ordered pursuant to plea agreem ent:              $


9         The defendant m ust pay interest on restitution and a fine of m ore than $2,500, unless the restitution or fine is paid in
          full before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options
          in the Schedule of Paym ents m ay be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


:         The Court has determ ined that the defendant does not have the ability to pay interest, and it is ordered that:
          9 the interest requirem ent is waived for the fine.
          : the interest requirem ent is waived for the restitution.
          9 the interest requirem ent for the fine is m odified as follows:
          9 the interest requirem ent for the restitution is m odified as follows:
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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:


A         :         Lum p sum paym ent of $100.00 due im m ediately, balance due
                    9 not later than ________, or
                    : in accordance with 9 C, 9 D, 9 E, or : F, below; or
B         9         Paym ent to begin im m ediately (m ay be com bined with C, D, or F, below.)
C         9         Paym ent in equal _____________ (e.g., weekly, m onthly, quarterly) installm ents of $__________ over a
                    period of _________ (e.g., m onths or years), to com m ence ____________ (e.g., 30 or 60 days) after the date
                    of this judgm ent, or
D         9         Paym ent in equal ____________ installm ents of $ __________ over a period of __________ (e.g., m onths
                    or years), to com m ence ___________ (e.g., 30, 60 or 90 days) after release from im prisonm ent to a term of
                    supervision;
E         9         Paym ent during term of supervised release will com m ence within ________ (e.g., 30 or 60 days) after release
                    from im prisonm ent. The court will set the paym ent plan based on an assessm ent of the defendant’s ability
                    to pay at the tim e; or
F         :         Special instructions regarding the paym ent of crim inal m onetary penalties:

                    The defendant shall apply all m onies received from incom e tax refunds, lottery winnings, judgm ents, and/or
                    any other anticipated or unexpected financial gains to any outstanding court-ordered financial obligations.


Unless the court has expressly ordered otherwise, if this judgm ent im poses a period of im prisonm ent, paym ent of crim inal
m onetary penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents m ade through the
Federal Bureau of Prisons’ Inm ate Financial Responsibility Program , are m ade to the Clerk of the Court, 399 Federal Building,
Grand Rapids, MI 49503, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.


9         Joint and Several

Defendant and Co-Defendant Nam es and Case Num bers (including defendant num ber), T otal Am ount, Joint and Several
Am ount, and corresponding payee, if appropriate:


9         The defendant shall pay the cost of prosecution.
9         The defendant shall pay the following court cost(s):
9         The defendant shall forfeit the defendant’s interest in the following property to the United States:


9         The defendant shall forfeit those assets previously identified that are subject to forfeiture.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
